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EXHIBIT “G”
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Page 1 of 2

“Jill Erickson

From: Missy Theriot [MTheriot@LN-Law.com]
Sent: Tuesday, June 28, 2011 3:06 PM
_ To: Jill Erickson
Cc: Kurt Arnold; Jason Itkin; Kristina McDonald; Monica Veer.
Subject: RE: Johnson, Elton - Maintenance Checks
Jill,

Tidewater is doing what it can to have the June 15-30 check re-routed. Additionally, they will be on the
look-out for the retum of the June 1-15 check. A new check cannot be issued until] the original check has

been returned.

Please ask Mr. Johnson advise immediately if he changes addresses so that we do not have similar issues,
in the future,

Thank you.
Missy

‘From: Jil Erickson {mailto:jerickson@Arnolditkin.com]

Sent: Tuesday, June 28, 2011 1:54 PM

To: Missy Theriot
Ce: Kurt Arnold; Jason Itkin; Kristina McDonald; Monica Veer
Subject: Johnson, Elton - Maintenance Checks

Ms. Theriot,

Elton Johnson's maintenance checks have been going to his old address. Please provide Tidewater with
his address: 728 Highway 3041, Bunkie, Louisiana 71322. Mr. Johnson advises that that the postal
service has been forwarding the checks to his new address but have now stopped since it has been a
year since he moved. He has not received the maintenance check for June 1-15, or June 15-30. Please

have the June checks sent to the new address.

Thank you for your assistance with this maitter.

Jill Erickson

Sr. Paralegal to Kurt 8. Arnold
Arnold & Itkin LLP

1401 McKinney, Suite 2550
Houston, Texas 77010
713.222.3800 | 713.222.3850 fax

jerickson@atnolditkin.com | www.arnolditkin.com

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10/47/2011
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X TTORNEYS AT LAW
CLIFFE E. LABORDE III C.E. LARORDE, JR.
FRANK X. NEUNER, JR. * ONE PETROLEUM CENTER (1912-1983)
JAMES L. PATE
BEN LU, MAYEAUX Surte 200
ROBERT EF, TORIAN 1001 W. PINHOOK ROAD WILE MONTZ
JAMES D. HOLUER JEREMY N. MORROW
MELISSA L. THERIOT * P.O, BOX 52824 (70505-2828) JED M. MESTAYER
KEVIN P. MERCHANT DANIEL J. POOLSON, JR.
JENNIE P. PELLEGRIN LAFAYETTE, LOUISIANA 70503 PHILIP H. BOUDREAUX, IR.
BRANDON W. LETULIER TELEPHONE: (337) 237-7000 CLIFF A. LACOUR
JASON T. REED FACSIMILE: (337) 233-9450 JEFFREY X. COREIL
PROFESSIONAL LAW CORPORATIONS vaww.LN-Law.com

* ALSO ADMITTED IN TEXAS

November 5, 2010
VIA ELECTRONIC TRANSMISSION AND U.S. MAIL

Mr. Kurt Arnold

Amold.& Itkin LLP

1401 McKinney Street, Suite 2550
Houston, TX 77016

Re: M&Re: Deepwater Horizon
Elton Johnson v. BP, et al
#.D.La. MDL No. 2179; Case No. 10-1674
Date of Accident: Apri] 20, 2010
Our File No. 17756

Dear Mr. Arnold:

We received your October 4, 2010 correspondence requesting that certain medical
expenses be paid by Tidewater. Tidewater has a right and obligation to investigate claims for
maintenance and cure before rendering payment, and requests documentation as indicated below.

Please note that the documentation you provided did not include a bill from Dr. Lilly, nor
did it include medical records from Lemoine Therapy Services of CENLA, Counseling Services
of SWLa, or James H. Blackburn, M.D. Additionally, it appears that the services offered by Dr.
Blackburn and Counseling Services of SWLa are, for the most part, duplicative of each other as
well as duplicative of treatment previously provided by Dr. Mielke and Dr. Quillin. Dr. Lilly has
recommended an MRI of the brain, but an MRI of the brain was performed on May 10, 2010 on
recommendation of Dr, McCann. Dr. Lilly’s report does not indicate why a repeat MRI is
necessary or that he was provided the medical records of the previous providers.

Finally, Tidewater requests independent medical examinations by an orthopedist,
neuropsychologist, neurologist and psychiatrist. Before those examinations take place, we will
need the films referred to in the reports of the other physicians, as well as complete records,
including raw data generated from the testing performed in the psychiatric, psychological or
neuropsychiatric or neuropsychological evaluations. Please forward these records to me at your
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Mr. Kurt Amold
November 5, 2010
} Page 2

earliest convenience. Additionally, [ have enclosed an authorization for the release of medical
tecords in this matter so that these records may be obtained expeditiously and at Tidewater’s
expense.

Thank you very much, and I will look forward fo hearing from you.

Sincerely,

lasurf

Melissa Lutgring Theriot.

MLT/nfr
Enclosure

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Tidewater

November 19, 2010

Arnold & tkin LLP.
1401 McKinney Street
Suite 2550
Houston, TX 77010

Re: Elton Johnson
To Whom It May Concern,

| have attached Tidewater’s check In the amount of $2371.46, which covers medical expenses for our
claimant, Elton Johnson.

Sincerely,
TIDEWATER INC.
po
Jennie H. Taylor
/jht

attachment

TIDEWATER INC.

Pan-American Life Center

601 Poydras Street, Suite 1900

New Orleans, Louisiana 70130-6046
Telephone: (504) 568-1010
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Tidewater

May 16, 2011

Mr. Kurt B. Amold
Arnold & Itkin LLP
1401 McKinney Street
Suite 2550

Houston, TX 77010

Re: Elton Johnson
Our File: 103-0056C
Dear Mr, Arnold:

Please find enclosed, Tidewater’s check made payable to Arnold & Itkin LLP in
the amount of $1,248.47, which covers reimbursement for Walgreens Pharmacy
($548.47) as well as reimbursement for Counseling Services of S.W..La. ($700.00).

lf you have any questions, please do not hesitate to contact me.

Sincerely,

| AT.

Vincent Rt. Almerico, Ili

VRA/cho
Enclosure

cc: Cliffe &. Laborde, JII
Melissa L. Theriot

” “TIDEWATER INC.

Pan-American'Life Ceriter **

601 Poydras-Sireet, Suite 1900

New Orleans, Louisiana 70130-6040 ~~:
Felephone: (604) 568-1010
Case 2:10-md-02179-CJB-DPC _ Document 11734-8 Filed 10/25/13 Page 8 of 14

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x Tidewater

June 21, 2011

Attn: Dr. Zoran Cupic
Memoriat Bone & Joint
P, O. Box 710205
Houston, TX 77271

Re: Elton Johnson
Our File: 11-1 03-0056C

Dear Dr. Cupic:

Enclosed are two Tidewater checks in the amount of $1,657.50 and $1,048.09
respectfully, made payable to Memorial Bone & Joint. .

Note that in addition to the enclosed payment, there remains an outstanding
charge in the amount of $75.00 (service date 01/03/11). We have spoken to your
patient account department and they are sending the undersigned a revised billing
statement with the proper "no show” coding. Upon receipt, we will promptly place in
line for audit and processing.

Sincerely,

VRA/cho
Enclosure

cc: Cliffe &. Laborde, Ili ~ Laborde & Neuner
. Missy L. Theriot - Laborde & Neuner _.
_ . Kurt B. Arnold — Amold & Itkin

TIDEWATER INC.

Pan-American Life Center

601 Poydras Street, Suite 1900

New Orleans, Louisiana 70130-6040
Telephone: (504) 568-1010
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CLIFFE E. LABORDE I) TES ¥S.AT LAW
FRANK X. NEUNER, JR. * ONE PETROLEU

JAMES L. PATE M CENTER
BEN L. MAYEADX SUITE 200
ROBERT E. TORIAN 1001 W, PINHOOK ROAD

JAMES 'D. HOLLER
MELISSA L, THERIOT * P.O, BOX 52828 (70505-2828)

KEVIN P. MERCHANT
JENNIE P. PELLEGRIN LAFAYETTE, LOUISIANA 70503
BRANDON W. LETULIER : TELEPHONE: (337) 237-7000
JABON T. REED

FACSIMILE; (997) 293-9450
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September 13, 201)
VIA ELECTRONIC TRANSMISSION AND U.S. MATL

Mr. Kurt Arnold

Amold & Itkin LER

1401 McKinney Street, Suite 2550
Houston, TX 77010

"Ret: InRe: Deepwater Horizon
Elton Johnson v. BP, et al
E.D.La. MDL No. 2179; Case No. 10-1674
‘Date of Accident: April 20, 2010
Our File No. ~ 17756

Dear Mr. Amold

C.E. LABORDE, JR,
(1913-1983)

WILL MONTZ

JEREMY N. MORROW

JED M. MESTAYER

PHILIP H. BOUDREAUX, J.
CLIFF-AVLACOUR .
JEFFREY K, COREIL

SARA RODRIGUE

JACLYN BRIDGES
VicToria VIATOR

We received your August 24, 2011 correspondence. The pharmacy charges will be
placed.in line forpayment. Please submit the original Forms CMS-1500 for the Memorial Bone

& Joint appointments for May 25, 2011 and July 20, 2011.

With regard to the remaining charges for Memorial Bone & Joint for June 23, 2010, the
medical auditor retained by Tidewater advised that the separate charges for special
reports/insvrance forms.and for patient education are not reasonable.and necessary costs for
medical treatment. Additionally, the charges for special supplies should have been included in
the cost of the.original procedure, which was previously adjusted and negotiated. Consequently,
we do riot believe these charges are within Tidewater’s maintenance and cure obligation. Should

you have an information to the contrary, please forward that information to us.

We have not been provided medical records for the outstanding charges from Counseling
Services of S.W. La. Please forward at your earliest convenience, or have your.client sign the

attached authorization for the release of medical records and retum to us.

s =
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Mr, Kurt Amiold
September 13, 2011
Page 2

With regard to the charges for Dr. Blackburn, we-have requested an explanation of the
reasonableness and necessity of his‘evaluation, which appears duplicative of the evaluations
performed by Dr. Dilkes, Dr. Mielke and Dr. Quillin, particularly since Dr. Blackbur does not
appear to be a treating provider, but have received no response, Additionally, while you
submitted a copy of a check for $1250, we cannot locate an invoice showing that payment being
i posted to the account. Please clarify these issues.

With regard to the charges for Dr. Lilly, we have requested but have never received an
itensized invoice or billing statement for Dr. Lilly, only a copy of your check to Dr. Lilly. Please
provide a bill, preferably the original Form CMS-1500.

Finally, attached is a printout of payments made to Dr. McCann, Dr. Mielke, and the
Knoll law firm for amounts owed to Dr. Quillin and Dr. Trahant. Please note that the amount
subnitted by Dr, McCann, .was reduced slightly to reflect reasonable charges and negotiated with

Dr. McCann.

Thank you very much, and I will look forward to hearing from you,

Sincerely,

Melissa Tay sings Theriot

MLTéAmfr

Enclosure

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Tidewater

September 19, 2011

Mr. Kurt B. Arnold
Arnold & Itkin LLP
1401 McKinney Street
Suite 2550

Houston, TX 77010

Re: EltonJohnson _
‘Our File: 103-0056C
Dear Mr. Amold:

Please find enclosed, Tidewater’s check made payable to Arnold & Itkin LLP in
the amount of $186.28, which covers reimbursement for Walgreens Pharmacy.

If you have any questions, please do not hesitate to contact me.
Sincerely,

TIDEWATER INC.

Vincent R.Almerico, Ill

VRA/cho
Enclosure

cc: Cliffe E. Laborde, il!
Melissa L. Theriot

TIDEWATER INC.

Pan-American Life Genter

601 Poydras Street, Suita 1900

New Orleans, Louisiana 70130-6040
Telephone: (504) 568-1010
Case 2:10-md-02179-CJB-DPC Document 11734-8 Filed 10/25/13 Page 14 of 14
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